Case 2:04-cV-02326-.]P|\/|-de Document 25 Filed 05/02/05 Page 1 of 2 Page|D 35

IN THE UNITED sTATEs DISTRICT COURT F"-Ew a _‘V/_ _ 0.¢';,
FOR THE WESTERN DISTRICT ()F TENNESSEE n
WESTERN DlvlsloN 95?‘1:-#-2 PM az 1,2
FITEC INTERNATIONAL, INC., ) §F§U‘;,‘Lj;_i »j;“g;ge¢..=_;g
a Tennessee Corporation ) “’"` `r”~` E"t`J,` ng"}iprcn'$
)
Plaintiff )
)
vs. ) Civil Action No. 2:04CV2326-D/V
)
PAUL C. ARDERN, an individual )
resident of the State of Florida, )
)
Defendant, Counter-Plaintiff )
)
vs. )
)
FITEC INTERNATIONAL, INC., )
a Tennessee Corporation )
)
Counter-Defendant )

 

ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE
SECOND AMENDED ANSWER AND AMENDED COUNTER-COMPLAINT

 

CAME ON TO BE HEARD Defendant’s Motion for Leave to File Second Arnended
Answer and Amended Counter-Complaint. After reviewing the positions of the party and the
record in this cause, it appears that the Motion is Well founded and should be grantedl

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Defendant is hereby
granted leave to tile the Second Amended Answer and Amended Counter~Complaint, a copy of
which has been attached to the Defendant’s Motion as Exhibit “A”.

\ 17
JUDGE

DATE; pywa g,o?dd§/ /_

. a _¢-\`
t' ket sheet in co np‘nanee
Th`\.s document entered on t.ie‘doc ’Ob/}
FH£,P on 5 ,z

with Ftu|e 53 and!or TS{a)

sAT"R'TElesTICT OURT WESTERN ISRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02326 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

Paul C. Ardern
133 E. 21st St.
Riviera Beach7 FL 33404

David Curry Riley

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

Memphis7 TN 38103

Todd B. Murrah

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

Memphis7 TN 38103

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O. Box 171443

Memphis7 TN 38187--144

John R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

Memphis7 TN 38119

Honorable Bernice Donald
US DISTRICT COURT

